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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 3.2.1
                               Eastern Division

Terry Martin
                          Plaintiff,
v.                                                Case No.: 1:07−cv−04991
                                                  Honorable Ronald A. Guzman
J Quinn, et al.
                          Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, July 31, 2008:


         MINUTE entry before the Honorable Ronald A. Guzman: Final pretrial
submission held on 7/31/2008. The parties motions in limine [104] [105] [106] [107]
[108] [109] [110] [111] [112] [113] [114] [115] [116] [117] [118] [119] [120][121] [122]
[123] [124] [125] [126] [127] are entered and continued for hearing and ruling on
8/5/2008 at 2:00 P.M. Parties may discuss settlement at this time. Final pretrial order and
trial dates stand at this time. Mailed notice by judge's staff.(srb,)




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